 Case 1:23-cv-00392-JMB-PJG ECF No. 8, PageID.33 Filed 06/13/23 Page 1 of 3




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

 JENNA CLANCY, ADRIENNE KARIM,
 And GREGG WELTE

                   Plaintiffs,

        v.                                           Civil Action No. 1:23-cv-00392
                                                     Hon. Jane Beckering
 THE HERSHEY COMPANY,

                   Defendant.

                     DEFENDANT THE HERSHEY COMPANY’S
                  RULE 7.1 CORPORATE DISCLOSURE STATEMENT

       Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Defendant The Hershey

Company states that it does not have a parent corporation and that no publicly held corporation

owns 10% or more of The Hershey Company’s stock.

                                                Respectfully Submitted,

 Dated: June 13, 2023                           MORGAN, LEWIS & BOCKIUS LLP

                                                /s/ Stephanie Sweitzer
                                                Stephanie L. Sweitzer (P66376)
                                                MORGAN, LEWIS & BOCKIUS LLP
                                                110 North Wacker Drive, Suite 2800
                                                Chicago, IL 60606
                                                +1.312.324.1000
                                                stephanie.sweitzer@morganlewis.com

                                                Michael S. Burkhardt (admission application
                                                pending)
                                                Ali M. Kliment (admission application
                                                pending)
                                                Shelby Krafka (admission application
                                                pending)
                                                MORGAN, LEWIS & BOCKIUS LLP
Case 1:23-cv-00392-JMB-PJG ECF No. 8, PageID.34 Filed 06/13/23 Page 2 of 3




                                        1701 Market Street
                                        Philadelphia, PA 19103
                                        +1.215.963.5000
                                        michael.burkhardt@morganlewis.com
                                        ali.kliment@morganlewis.com
                                        shelby.krafka@morganlewis.com

                                        Attorneys for Defendant




                                    2
 Case 1:23-cv-00392-JMB-PJG ECF No. 8, PageID.35 Filed 06/13/23 Page 3 of 3




                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies the foregoing Defendant the Hershey Company’s Rule

7.1 Corporate Disclosure Statement was served via the Court’s electronic filing system on the

following counsel of record:


                                 Noah S. Hurwitz (P74063)
                                Brendan J. Childree (P85638)
                                  HURWITZ LAW PLLC
                                  340 Beaks St., Suite 125
                                   Ann Arbor, MI 48104
                                     +1.844.487.09489
                                  Noah@hurwitzlaw.com
                                 Brendan@hurwitzlaw.com


                                                  /s/ Stephanie Sweitzer
                                                  Stephanie L. Sweitzer (P66376)
                                                  MORGAN, LEWIS & BOCKIUS LLP
                                                  110 North Wacker Drive, Suite 2800
                                                  Chicago, IL 60606
                                                  +1.312.324.1000
                                                  stephanie.sweitzer@morganlewis.com




                                             3
